     Case 1:23-cv-01599-ABJ-ZMF Document 110-1 Filed 09/14/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       ) No. 1:23-cv-01599-ABJ-ZMF
                                           )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                                      [PROPOSED] ORDER

       Upon consideration of Plaintiff Securities and Exchange Commission’s (“SEC”) Motion

to Unseal Or, in the Alternative, to Withdraw Its Motion to Seal (“Motion to Unseal”), IT IS

HEREBY ORDERED THAT:

       1.     The SEC’s Motion to Unseal is granted.

       2.     The Clerk of the Court is directed to unseal the following:

                  a. SEC’s Motion to Compel and For Other Relief and Opposition to BAM

                      Defendants’ Motion for a Protective Order (“Motion to Compel”) (Dkt.

                      No. 102-2)

                  b. SEC’s Proposed Order to the Motion to Compel (Dkt. No.102-3)

                  c. Exhibit 1 to the Declaration of Jenifer Farer (“Declaration”) (Dkt. No.

                      102-6)

                  d. Exhibit 2 to Declaration (Dkt. No. 102-7)

                  e. Exhibit 3 to Declaration (Dkt. No. 102-8)
Case 1:23-cv-01599-ABJ-ZMF Document 110-1 Filed 09/14/23 Page 2 of 3




          f. Exhibit 4 to Declaration (Dkt. No. 102-9)

          g. Exhibit 5 to Declaration (Dkt. No. 102-10)

          h. Exhibit 6 to Declaration (Dkt. No. 102-11)

          i. Exhibit 7 to Declaration (Dkt. No. 102-12)

          j. Exhibit 8 to Declaration (Dkt. No. 102-13)

          k. Exhibit 9 to Declaration (Dkt. No. 102-14)

          l. Exhibit 11 to Declaration (Dkt. No. 102-16)

          m. Exhibit 12 to Declaration (Dkt. No. 102-17)

          n. Exhibit 13 to Declaration (Dkt. No. 102-18)

          o. Exhibit 22 to Declaration (Dkt. No. 102-27)

          p. Exhibit 27 to Declaration (Dkt. No. 102-32)

          q. Exhibit 28 to Declaration (Dkt. No. 102-33)

 3.    The Clerk of the Court is further directed to place the partially sealed or redacted

       version of the following documents as filed with the Motion to Unseal on the

       public docket with their accompanying filings:

          a. Exhibit 10 to Declaration (Dkt. No. 102-15) as redacted

          b. Exhibit 14 to Declaration (Dkt. No. 102-19) as redacted

          c. Exhibit 15 to Declaration (Dkt. No. 102-20) as redacted

          d. Exhibit 16 to Declaration (Dkt. No. 102-21) as redacted

          e. Exhibit 19 to Declaration (Dkt. No. 102-24) as redacted

          f. Exhibit 21 to Declaration (Dkt. No. 102-26) as redacted

          g. Exhibit 26 to Declaration (Dkt. No. 102-31) as redacted

          h. Memorandum in Support of the SEC’s Motion Compel (Dkt. No. 102-4)
             as redacted



                                         2
    Case 1:23-cv-01599-ABJ-ZMF Document 110-1 Filed 09/14/23 Page 3 of 3




               i. Declaration of Jenifer Farer (Dkt. No. 102-5) as redacted

      4.    This Court orders that, seven days from the entry of this Order, Defendants or any

            nonparty that claims a confidentiality designation regarding documents relating to

            the SEC’s Motion to Compel provide the Court with their legal basis for

            maintaining those documents under seal in whole or in part.

      5.    This Court further orders that SEC shall have seven days to respond to any filing

            from Defendants or a nonparty as set forth in paragraph 4 of this Order.




SO ORDERED this _____ day of __________________, 2023.



                                                 ____________________________________
                                                 The Honorable Amy Berman Jackson
                                                 United States District Judge




                                             3
